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                                                     No. 16-1421C
                                              (Filed: November 30, 2018)

 * r. * * * * * :l * * * * tr * * * * * * * * r.       Jr   * tr *

 EFFICIENT ENTERPRISE
 ENGINEERING. INC..

                    Plaintiff,

                    v,

 THE UNITED STATES,

                    Defendant.

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                                             ORDEROF DISMISSAL


      On November 15,2018, Defendant filed an unopposed motion to dismiss Plaintiff s
complaint pursuant to Rule 41(b) of the Rules of the United States Court of Federal Claims. Rule
41ft)   states:

         Ifthe plaintiff fails to prosecute
                                          or to comply with these rules or a court order, the
         court may dismiss on its motion or the defendant may move to dismiss re action
         or any claim against it. Unless the dismissal order states otherwise, a dismissal
         under this subdivision (b) and any dismissal not under this rule * except one for
         lack of jurisdiction or failure to join a party under RCFC 19 operate as an
                                                                                 -
         adjudication on the merits.

        On March 14,2018, this Court stayed all deadlines in this matter to allow Plaintiff time to
retain new  counsel, as this Court's rules prohibit corporations from proceeding pro se or from
being represented by non-attorneys. RCFC 83.1(a)(3); see also Talasila. Inc v. United States,240
F.3d 1064, 1066 (Fed. Cir. 2001) (per curiam) (construing Rule 83.1(d)'s predecessor, Rule
8l(dx8)).
        Plaintiff was granted three extensions of time in which to retain counsel, and failed to
respond to the Court's November 2, 2018 order to file a status report after missing a previous
deadline. Failure to comply with court orders constitutes a valid ground for dismissal based on a
failure to prosecute. See Sapharas v. Sec'y of Health & Human Servs., 35 Fed. Cl. 503, 505
(1996); Tsekouras v. Sec'y of Health & Human Servs.,26 Cl. Ct.439,442-43 (1992), affd per
curiam, 991 F.2d 810 (Fed. Cir. 1993); see eenerally Claude E. Atkins Enters.. Inc. v. United




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    States, 899 F.2d 1180 (Fed. Cir. 1990) (affirming dismissal pursuant to RCFC 41(b) for failure to
    comply with court orders).

           Defendant's motion to dismiss is GRANTED. The Clerk is directed to dismiss this action.
